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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

UNITED STATES OF AMERICA                        )
                                                )
v.                                              )   No. 3:19-cr-083-M-1
                                                )   Chief Judge Barbara M. G. Lynn
RUEL M. HAMILTON                                )
                                                )


                          MR. HAMILTON’S REQUEST
                 FOR TEMPORARY RELIEF OF RELEASE CONDITIONS

         On June 29, 2021, the Court issued an order reinstating Mr. Hamilton’s conditions of

release (Doc. 340) as imposed on March 1, 2019 (Doc. 15) and as modified on December 14, 2020

(Doc. 282). He has abided by those conditions with no issues since the trial’s conclusion.

         On September 1, 2021, Mr. Hamilton is scheduled to undergo magnetic resonance imaging

(MRI), which requires that the ankle device for tracking his location be removed during the

procedure. Accordingly, Mr. Hamilton respectfully requests that he be allowed to temporary

remove the monitor on September 1, 2021 and replace the monitor later that same day to

accommodate the procedure. The United States Probation Office is in agreement with the relief

requested.




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Dated: August 23, 2021

                                      Respectfully submitted,

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                             Counsel for Defendant Ruel M. Hamilton



                              CERTIFICATE OF CONFERENCE

       I certify that on August 23, 2021, I conferred with AUSA Chad Meacham on this motion,

and the Government is unopposed to the relief requested.

                                               /S/Abbe David Lowell

                                               Abbe David Lowell



                                 CERTIFICATE OF SERVICE

       I certify that on August 23, 2021, a copy of the foregoing was filed with the Court’s

electronic case filing system, thereby effecting service on counsel for all parties.

                                               /S/Abbe David Lowell

                                               Abbe David Lowell




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